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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

HEARTLAND ALLIANCE FOR HUMAN
NEEDS & HUMAN RIGHTS d/b/a
NATIONAL IMMIGRANT JUSTICE
CENTER
                                                 No. 1:16-cv-00211-RMC
              Plaintiff,

             v.

UNITED STATES DEPARTMENT OF
HOMELAND SECURITY et al.

             Defendants.


            DECLARATION OF SETH A. WATKINS IN SUPPORT OF
       PLAINTIFF’S CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT

       I, Seth A. Watkins, declare:

       1.     I am an attorney licensed to practice in the District of Columbia, and I am counsel

for the plaintiff Heartland Alliance for Human Needs & Human Rights d/b/a National Immigrant

Justice Center (“NIJC”) in this action.    I know the following facts of my own personal

knowledge and if called upon could and would competently testify thereto.

       2.     Attached hereto as Exhibit 1 is a true and correct copy of a FOIA request by

Plaintiff Heartland Alliance for Human Needs & Human Rights d/b/a National Immigrant Justice

Center to the Office of Civil Rights and Civil Liberties at the U.S. Department of Homeland

Security (“DHS”), dated March 14, 2014.

       3.     Attached hereto as Exhibit 2 is a true and correct copy of a Vaughn index served

by counsel for DHS on undersigned counsel for Plaintiff on January 12, 2017.

       4.     Attached hereto as Exhibit 3 is a true and correct copy of a FOIA request by

Plaintiff Heartland Alliance for Human Needs & Human Rights d/b/a National Immigrant Justice



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Center to the Office of Civil Rights and Civil Liberties at the U.S. Department of Homeland

Security (“DHS”), dated November 4, 2016.

        5.    Attached hereto as Exhibit 4 is a true and correct copy of a web page entitled

“Secured Communities,” printed from https://www.ice.gov/securecommunities on January 4,

2016.

        6.    Attached hereto as Exhibit 5 is a true and correct copy of another web page

entitled “Secure Communities” printed from https://www.ice.gov/securecommunities#tab1 on

January 4, 2016.

        7.    Attached hereto as Exhibit 6 is a true and correct copy of a Memorandum to all

ICE and CRCL Personnel from Margo Schlanger, Officer for Civil Rights and Civil Liberties,

DHS and Gary Mead, Executive Associate Director, ICE, concerning “Secure Communities

Complaints Involving State or Local Law Enforcement Agencies,” dated June 14, 2011, as

downloaded from the web page https://web.archive.org/web/20111020082819/https://www.ice.

gov/doclib/secure-communities/pdf/complaintprotocol.pdf on May 12, 2017.

        8.    Attached hereto as Exhibit 7 is a true and correct copy of ICE Office of the

Director, PROTECTING THE HOMELAND: ICE RESPONSE TO THE TASK FORCE ON SECURE

COMMUNITIES FINDINGS AND RECOMMENDATIONS (Apr. 27, 2012), downloaded from the web

page http://www.dhs.gov/xlibrary/assets/hsac/ice-response-to-task-force-on-secure-communities.

pdf on May 12, 2017.

        9.    Attached hereto as Exhibit 8 is a true and correct copy of SECURE COMMUNITIES:

STATISTICAL MONITORING, U.S. Dep’t of Homeland Security (Nov. 16, 2011), bearing a file

name “statisticalmonitoring.pdf” as downloaded from the web page https://www.ice.gov/

doclib/secure-communities/pdf/statisticalmonitoring.pdf on May 12, 2017.




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       10.     Attached hereto as Exhibit 9 is a true and correct copy of another document

entitled SECURE COMMUNITIES: STATISTICAL MONITORING, Dep’t of Homeland Security (Nov.

16, 2011), bearing a file name “sc-statistical-monitoring.pdf” as downloaded from the web page

https://web.archive.org/web/20121007101300/http://www.ice.gov/doclib/secure-communities/pd

f/sc-statistical-monitoring.pdf on May 12, 2017.


       I declare under penalty of perjury under the laws of the District of Columbia that the

foregoing is true and correct.


Dated: May 12, 2017                         Respectfully submitted,

                                            /s/ Seth A. Watkins
                                            Seth A. Watkins (D.C. Bar # 467470)




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